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UNITED STATES DISTRICT
COURT SOUTHERN DISTRICT OF
FLORIDA
Case No. 18-cv-81222-DMM
MARY MCLEAN, individually
and on behalf of all others
similarly situated,
Plaintiff,

Vv.

BRETT A. OSBORN, D.O., PLLC,
a professional limited liability company,

Defendant.
/

ORDER CLOSING CASE
Consistent with the Final Approval Order (DE 45), it is hereby ORDERED and
ADJUDGED that the Clerk of Court shall CLOSE this CASE and DENY all pending motions

AS MOOT.

SIGNED in Chambers in West Palm Beach, Florida, this é day cember, 2019.

  

 

DONALD M. MIDDLEBROOKS
UNITED STATES DISTRICT JUDGE

 
